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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

                                                     )
  SIU SHONG TSANG,                                   )
                                                     )
                    Plaintiff,                       )      Civil Action No. 1:23-cv-6614
          v.                                         )              (MMR)(JIC)
                                                     )
  THE INDIVIDUALS,                                   )
  CORPORATIONS, LIMITED                              )
  LIABILITY COMPANIES,                               )     JURY TRIAL DEMANDED
  PARTNERSHIPS, AND                                  )
  UNINCORPORATED ASSOCIATIONS                        )
  IDENTIFIED ON SCHEDULE A TO                        )
  THE COMPLAINT,                                     )
                                                     )
                    Defendants.                      )



                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff hereby

dismisses with prejudice all causes of action in the Amended Complaint against the Defendants

identified below.

                      Doe No.      Store Name

                      DOE 105      Tai Chi Cat

                      DOE 117      YSToys


       Each party shall bear their own attorney’s fees and costs. Defendants have not filed an

answer or a motion for summary judgment in this matter. Therefore, it is respectfully submitted

that dismissal under Rule 41(a)(1)(A)(i) is appropriate.




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Date: December 15, 2023                     Respectfully submitted,

                                            /s/ Theodore J. Chiacchio
                                            Theodore J. Chiacchio (Bar No. 6332547)
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                                            Chicago, Illinois 60601
                                            Tel: (312) 815-2384
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                                            By: /s/ Shengmao Mu
                                            Shengmao (Sam) Mu, NY #5707021
                                            WHITEWOOD LAW PLLC
                                            57 West 57th Street, 3rd and 4th Floors
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                                            Counsel for Plaintiff




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                              CERTIFICATE OF SERVICE

      I hereby certify that on December 15, 2023, I electronically filed the foregoing with the

Court using the CM/ECF system.


                                                        /s/Theodore J. Chiacchio_______
                                                           Theodore J. Chiacchio




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